The question involved in this case and in McGinness v. Hunt,ante, p. 70, 111 P.2d 65, is identical, that is, as to whether employees of the Industrial Commission whose employment and compensation have once been approved by the governor of the state are entitled to be paid their salaries, or must the commission submit such employment and *Page 77 
salaries to each incoming governor and secure his approval before they may be paid their salaries.
The only difference in the cases is that this one is prosecuted by the Industrial Commission in behalf of all its employees. The attorney general and attorneys for the commission have stipulated that the decision in the McGinness case should control this case.
The alternative writ is made peremptory as to all employees of the commission except McGinness, who secured judgment for the payment of his salary in his own case, supra.
LOCKWOOD, C.J., and McALISTER and ROSS, JJ., concur.